Case 2:22-cv-03104-KM-JBC Document 8-4 Filed 07/19/22 Page 1 of 7 PageID: 99




                          EXHIBIT B
Case 2:22-cv-03104-KM-JBC Document 8-4 Filed 07/19/22 Page 2 of 7 PageID: 100




                               PAYMENT AND STANDSTILL AGREEMENT

           This Payment and Standstill Agreement (the ''Payment and Standstill Agreement") is
     made this lOth day of March 2022 (the "'Effective Date'') by and among URIBE FINE ART,
     LLC ("UFA") and DARTMILANO. SRL {..DART''), PIER GIULIO LANZA \'Lanza"), and
     RICCARDO MANFRIN ("Manfiin") (each a "Party"; together, the "Parties").

            WHEREAS, on or about 19-August-2021, UFA and DART entered into a contract
    pursuant to which DART agreed to purchase a work of fine art by
    -        for a total of USD - - (''the Purchase Agreement" and ''the Work."
    respectively);

          WHEREAS DART agreed to complete payment for the Work by no later than 22-
     November-2021;

            WHEREAS, DART bas failed to complete payment for the Work in accordance with the
     Purchase Agreement and is in default of its obligations to UFA; and

            WHEREAS UFA is willing to defer filing a litigation based on the other Parties'
     representation that DART can all amounts due to UFA, including the balance due for purchase of
     the Work;

     NOW, THEREFORE, the Parties hereby execute this Payment and Standstill Agreement to reflect
     and memorialize the terms and conditions of their agreement, and hereby affirm that, in
     consideration of these promises, and for good and valuable consideration, the receipt and
     sufficiency of which are hereby acknowledged, the Parties, intending to be bound legally,
     covenant and agree as follows:

            1.     Payment for the Work. DART shall complete payment for the Work as       follows:

                   a. A payment ofusq               on or before 10-March-2022;

                   b. A payment ofUSDI              on or before 30-March-2022;

                   c. A payment ofUSDI                      on or before 10-April-2022.;

                           i. Plus an amount to be detennined and communicated to ART no later
                              than 03-April 22 for interest that js demanded of UFA in connection
                              with its procurement of the Work for sale.

     Each such payment shall be made in accordance with the wire transfer instructions attached to
     this Agreement as Exhibit A so as to be received in UFA's account in good, cleared funds on or
     before the close of business at UFA's bank on the dates set forth above. DART, Lanza, and
     Manfrio, acknowledges that time is of the essence with respect to each payment.




                                               Pagel of 5
Case 2:22-cv-03104-KM-JBC Document 8-4 Filed 07/19/22 Page 3 of 7 PageID: 101




            2.     Standstill Agreement. The Parties, and each of their agents and assigns, agree that
    no legal proceedings shall be commenced relating to the Purchase Agreement or the Payment
    and Standstill Agreement (''the Agreements'') except in the event that any Party breaches its
    obligations under the Payment and Standstill Agreement.
           3.      Jurisdiction; Applicable Law; Service of Process.
                   a. The Parties agree that both the Purchase Agreement and the Payment and
                      Standstill Agreement shall be governed by the laws of the State ofNew Jersey
                      without regard to its conflict of law principles.
                   b. The Parties submit to the exclusive jurisdiction of the United States District
                      Court for the District of New Jersey with respect to the resolution of any
                      disputes relating to the Purchase Agreement or the Payment and Standstill
                      Agreement (collectively, the "Agreements").
                   c. DART, Lanza and Manfrin each designate Roberto Pacini as their agent for
                      service of process and agree that they may be personally served by email and
                      a reputable overnight courier (e.g., DHL or FedEx) sent to Mr. Pacini at Via
                      Giovanni Nicotera 29 Rome, Italy 00192, and that such service will constitute
                      valid service as of the date of the email and delivery to the courier. The Parties
                      explicitly waive any requirements for or rights to foreign service of process
                      under the Hague Convention or other applicable law or treaty.


            4.     Disclosure. Within one business day of execution of this Payment and Standstill
    Agreement, DART shall disclose to the attorneys for UFA the amount that it borrowed from Art
    Lending, Inc. using the Work as collateral and, if different, the payoff amount that would be due
    to Art Lending, Inc. to release the Work as collateral.
            5.     Personal Guaranty. Lanza and Man:frin personally and unconditionally guarantee
    the prompt and complete performance by DART of its obligations under the Purchase
    Agreement and the Payment and Standstill Agreement and agree to pay all costs and expenses,
    including reasonable attorney's fees, incurred by UFA in securing such performance.
            6.     Representations of All Parties. The Parties represent to one another that:
                (a)     Each of the Parties has had ample opportunity to consult an independent
    attorney, free of any and all conflicts of interest, and other advisors including, but not limited
    to, tax advisors of such Party's own choosing prior to signing this agreement.
             (b)     Each Party agrees to the terms and conditions of this agreement and
    acknowledges that such Party is under no coercion, compulsion, or duress in executing it.
               (c)     In signing this agreement, no Party is relying on any (i) statement or
    representation, whether written or oral, that is not set forth in this Agreement or (ii) the duty or
    alleged duty of any Party to provide information of any kind whatsoever to another Party.
                (d)    Upon each of the Parties full performance under the terms hereunder,
    including payment in full for the Work, the Parties wiU exchange mutual releases and covenants
    not to sue one another and their respective agents, employees, and representatives.


                                                 Page2ofS
Case 2:22-cv-03104-KM-JBC Document 8-4 Filed 07/19/22 Page 4 of 7 PageID: 102




               (e)      AU representations and warranties made in this agreement shall survive the
     completion of the transactions contemplated by this agreement.


             7.          Notices.
                   (a)      All notices and other communications pursuant to this agreement shall be
     sent:
                          /fto UFA:                    John R. Cahill, Esq.
                                                       Olsoffl Cahill I Cossu LLP
                                                       40 West 11 oth Street
                                                       New York, NY 10018
                                                       917-674-5135
                                                       jcahill@occllp.com

                          lftoDART:                    Roberto Pacini, Esq.
                                                       Via Giovanni Nicotera 29
                                                       Rome, Italy 00192
                                                       +39 0683779968
                                                       avvocatopacini@gmail.com


                   (b)      Any notices sent shall be sent by: (i) electronic mail, and (ii) next day
       delivery.
                (c)      Notice shall be deemed to be given from the time of delivery by the next day
       delivery service.
             8.          Miscellaneous.
               (a)    This agreement may not be changed or amended except through a writing
      signed by the Party charged with the change or amendment.
              (b)    In the event of any conflict between the terms of the Purchase Agreement
      and the Payment and Standstill Agreement, the terms of the Payment and Standstill
      Agreement shall control.
                (c) Except as provided herein, the Purchase Agreement and the Payment and
      Standstill Agreement represent the entire agreement and understanding between and among
      the Parties and supersedes all prior agreements among the parties, whether written or oral.
               (d) No Party may waive any rights under this agreement unless the waiver is
      explicit and in writing. No Party may construe another Party's conduct, or a course of
      conduct, inaction or failure to press that Party's rights under the Agreement as a waiver of
      any of the rights or obligations under this agreement.
               (e) The prevailing Party or Parties in any action or proceeding arising out of a
      dispute concerning the Agreements shall be entitled to recover such Party's costs and
      reasonable attorneys' fees from the non-prevailing Party or Parties.



                                                    Page3 ofS
Case 2:22-cv-03104-KM-JBC Document 8-4 Filed 07/19/22 Page 5 of 7 PageID: 103




              (f) This Agreement shall be binding upon the Parties, their heirs, administrators,
     executors, successors, and pennitted assigns.
              (g) This Agreement may be executed in any number of counterparts and with
     electronic or facsimile signatures, each of which, when executed and delivered, shall be
     deemed an original for all purposes, and such counterparts together shall constitute one
     instrument.
              (h) Headings in the Agreement are for the convenience of the Parties and do not
     bind them in any way. ·
     EACH OF THE UNDERSIGNED HAS READ AND UNDERSTANDS THIS AGREEMENT:

     AUGUST URIBE FINE ART, LLC




                                                               DARTMilANO s.r.l.
                                                               'J,a Goldoni 120129 Milano

                                                              p,e, ..   t· · ~-
                                                                              oella Permanente
                                                                         ·\·. us~o
                                                                        Vta Filippo Turati 34
                                                                           20121 Milano




                                             Page 4 of5
Case 2:22-cv-03104-KM-JBC Document 8-4 Filed 07/19/22 Page 6 of 7 PageID: 104




                                             Exhibit A
                                          Wire Instructions


    Account Name: New Yotk lOLA Attorney Trust Accounts Olsoff Cahill Cossu
    Bank Bank of Ame.ti.ca, 100 West 33td Street, New York, NY 10019
    Swift Code Number:
    ABA Wire Number:
    Account Number:




                                                                       \




                                               Page 5 of5
   Case 2:22-cv-03104-KM-JBC Document 8-4 Filed 07/19/22 Page 7 of 7 PageID: 105


Y HELLOS IGN                                                                                 Audit Trail

TITLE                                     2022-03-10 UFA-DARTv2 Standstill Agreement with Exhibit A-...

FILE NAME                                 2022-03-10%20UFA-... %20A%20-%20PE.pdf
DOCUMENTID                                a76f5756c7da4e7b9061f83d25d920d11ec1ec5b
AUDIT TRAIL DATE FORMAT                   MM I DD/YYYY
STATUS                                    • Signed


 This document was requested from app.clio.com



Document History

                  03/10/2022              Sent for signature to August Uribe (august@uribefineart.com)
    SENT          16:05:14 UTC            from dbholanauth@occllp.com
                                          IP: 209.10.146.36




                  03/10/2022              Viewed by August Uribe (august@uribefineart.com)
   Vlt;!WED-      16:31:57 UTC            IP: 73.238.7.252




                  03/10/2022              Signed by August Uribe (august@uribefineart.com)
   SIGNED         16:36:01 UTC            IP: 73.238.7.252




     0            03/10/2022              The document has been completed .

 COMPLETED        16:36:01 UTC




Powered by YHELLOSIGN
